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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                    STIPULATION AND [PROPOSED]
                                                    ORDER FOR EXTENSION OF TIME TO
This document relates to:                           SUBMIT WRITTEN SETTLEMENT
                                                    AGREEMENT
ALL ACTIONS




     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
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       By and through their undersigned counsel, the parties hereby stipulate and agree as follows:

       1.      Whereas, on August 26, 2022, the parties notified the Court that they had reached

a settlement in principle of the consolidated action In re: Facebook, Inc. Consumer Privacy User

Profile Litigation, Case No. 3:18-md-02843-VC (the “Action”) and requested sixty (60) days to

file a motion for preliminary approval (Dkt. 1014), which was granted the same day (Dkt. 1015);

       2.      Whereas, on October 19, 2022, the parties requested extension of the deadline to

file a preliminary approval motion until December 16, 2022 (Dkt. 1068), which was granted on

October 20, 2022 (Dkt. 1069);

       3.      Whereas, the parties have been working diligently and have made significant

process, and request one final and short extension of the deadline to file a preliminary approval

motion until December 22, 2022.

       NOW, THEREFORE, THE PARTIES JOINTLY REQUEST, through their respective

counsel and subject to the Court’s approval, that the deadline to file a preliminary approval motion

will be extended until December 22, 2022.

Dated: December 16, 2022                                 Respectfully submitted,


KELLER ROHRBACK L.L.P.                                   BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                               By:     /s/ Lesley E. Weaver
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 DATED: December 16, 2022                         Respectfully submitted,

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Attorneys for Defendant Facebook, Inc.


PURSUANT TO STIPULATION, IT IS SO ORDERED.




DATE: ____________________                        ___________________________________

                                                  VINCE CHHABRIA
                                                  United States District Judge




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                                SIGNATURE ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

has been obtained.

Dated: December 16, 2022                                    By: /s/ Rosemarie T. Ring
                                                                   Rosemarie T. Ring




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                                CERTIFICATE OF SERVICE

       I, Rosemarie T. Ring, hereby certify that on December 16, 2022, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of Califor-

nia using the CM/ECF system, which shall send electronic notification to all counsel of record.

                                                             By: /s/ Rosemarie T. Ring
                                                                    Rosemarie T. Ring




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